          Case 1:06-cv-00157-FMA Document 39 Filed 06/06/08 Page 1 of 1




      In The United States Court of Federal Claims
                               Nos. 06-157C, 06-570C, and 06-833C

                                       (Filed: June 6, 2008)
                                            __________
 YATES INTERNATIONAL, LLC.,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.
                                             _________

                                             ORDER
                                            __________

         On June 2, 2008, the parties filed a joint stipulation for entry of dismissal with prejudice.
Accordingly, pursuant to RCFC 41(a)(1), the Clerk is directed to dismiss these consolidated
cases with prejudice. Each party shall bear its own costs, attorney fees, and expenses, pursuant to
their stipulation.

       IT IS SO ORDERED.


                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
